              Case 4:19-cv-03506-YGR Document 22 Filed 10/25/19 Page 1 of 2




     Rachel E. Kaufman, CA Bar No. 259353                                          ISTRIC
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     Kaufman P.A.                                                           TA
     400 NW 26th Street




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     Miami, FL 33127                                                                              D
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3    Telephone: (305) 469-5881                                                      OO
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     Email: rachel@kaufmanpa.com
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     Counsel for Plaintiff and all others similarly situated                Judge Yv
                                                                                     on




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8                                 UNITED STATES DISTRICT COURT
9                                NORTHERN DISTRICT OF CALIFORNIA
10                                                   )
11   KAREN JOHNSON, individually and on              ) Case Number: 4:19-cv-03506-YGR
     behalf of all others similarly situated,        )
12                                                   ) NOTICE OF VOLUNTARY DISMISSAL
                    Plaintiff,                       )
13                                                   )
14   v.                                              )
                                                     )
15   CHIPOTLE MEXICAN GRILL, INC., a                 )
     California corporation,                         )
16                                                   )
17                  Defendant.                       )
                                                     )
18                                                   )
19          Plaintiff Karen Johnson hereby gives notice of the dismissal with prejudice of Plaintiff’s
20
     individual claims and without prejudice to the putative classes’ claims, with each party to bear its
21
     own attorneys’ fees and costs.
22
23          Dated: October 22, 2019.               /s/ Rachel E. Kaufman
24                                                 Rachel E. Kaufman, CA Bar No. 259353
                                                   KAUFMAN P.A.
25                                                 400 NW 26th Street
                                                   Miami, FL 33127
26                                                 Telephone: (305) 469-5881
27                                                 Email: rachel@kaufmanpa.com

28                                               Page 1 of 2
     Notice of Voluntary Dismissal
     Case No. 4:19-cv-03506-YGR
              Case 4:19-cv-03506-YGR Document 22 Filed 10/25/19 Page 2 of 2




1
                                     CERTIFICATE OF SERVICE
2
            I HEREBY CERTIFY that on October 22, 2019, I electronically filed the foregoing
3
     document with the Clerk of the Court using CM/ECF, and it is being served this day on all
4
5    counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF.

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7
                                                        /s/ Rachel E. Kaufman
8                                                       Rachel E. Kaufman

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28                                             Page 2 of 2
     Notice of Voluntary Dismissal
     Case No. 4:19-cv-03506-YGR
